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  /RJDQ'6PLWK Pro Hac Vice 
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  (GZDUG&KDQJ 19 
   HFKDQJ#PFQDPDUDOOSFRP
  &RUQHOLD-%*RUGRQ Pro Hac Vice 
   FJRUGRQ#PFQDPDUDOOSFRP
  0&1$0$5$60,7+//3
   :HVW%URDGZD\6XLWH
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 Attorneys for Court-Appointed Monitor,
   Thomas W. McNamara
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   &RUSRUDWLRQ%URDGPRRU&DSLWDO3DUWQHUV//&        &2816(/
 3DUN//&&&DSLWDO//&')6HUYLFHV           
   &RUS')7:&RQVROLGDWHG>8&@//&,PSDFW%3         
 //&/HYHO$SSDUHO//&/HYHO&DSLWDO
   3DUWQHUV//&/HYHO(\HZHDU//&/HYHO
 0RWRUVSRUWV//&/HYHO6FLHQWLILF//&10
   6HUYLFH&RUS IND1DWLRQDO0RQH\6HUYLFH 
 36%6HUYLFHV//&5HDO(VWDWH&DSLWDO//& IND
   5HKDE&DSLWDO,//& 6HQWLHQW7HFKQRORJLHV67
 &DSLWDO//&:HVWIXQG//&(FOLSVH5HQHZDEOHV
   +ROGLQJV//&6FRWW7XFNHU'HFODUDWLRQRI7UXVW
 GDWHG)HEUXDU\:HVW5DFH&DUV//&
   DQG/HYHO0DQDJHPHQW//&DQGWKHLU
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           7KLVQRWLFHVHUYHVWRDGYLVHWKDW(GZDUG&KDQJRI0F1DPDUD6PLWK//3FRXQVHOIRU

  3ODLQWLII7KRPDV:0F1DPDUDLQWKHDERYHFDSWLRQHGFDVHKHUHE\ZLWKGUDZVIURPWKHDERYH

  FDSWLRQHGFDVHDVRIWKHGDWHRIWKLVILOLQJGXHWRKLVGHSDUWXUHIURPSULYDWHSUDFWLFHDQG

  DFFHSWDQFHRIDSRVLWLRQDVDQ$VVLVWDQW8QLWHG6WDWHV$WWRUQH\DVRI2FWREHU3OHDVH

  UHPRYH0U&KDQJIURPDOOIXWXUHPDLOLQJVDQGQRWLFHVZLWKUHVSHFWWRWKLVFDVH

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                                                     Attorneys for Court-Appointed Monitor,
                                                   Thomas W. McNamara
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         IT IS SO ORDERED.
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         Dated: October 16, 2020
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       ______________________________
         Nancy J. Koppe
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         United States Magistrate Judge
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